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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 KAREN CLARK,

                        Plaintiff,                            Civil Action No.

         v.                                                   COMPLAINT FOR DECLARATORY
                                                              AND INJUNCTIVE RELIEF
 FRAGRANCENET.COM, INC., and DOES 1-5


                        Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Karen Clark, by and through undersigned counsel, seeks a permanent injunction requiring

a change in Fragrancenet.com, Inc.’s (“Defendant” or “FragranceNet”) corporate policies to

cause its website to become, and remain, accessible to individuals with visual disabilities. In

support thereof, Plaintiff respectfully asserts as follows:

                                        INTRODUCTION

       1.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA
       applies to public accommodations’ websites over 20 years ago. This interpretation
       is consistent with the ADA’s title III requirement that the goods, services,
       privileges, or activities provided by places of public accommodation be equally
       accessible to people with disabilities.

See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to

Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
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https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last

accessed May 3, 2019).

       2.      Plaintiff Karen Clark is totally blind. Two weeks after Ms. Clark’s twelfth

birthday, she was hit by a car. Both of Ms. Clark’s optic nerves detached in the accident, and she

has been completely blind ever since. Ms. Clark uses VoiceOver for her iPhone 8 and JAWS to

navigate the internet.

       3.      Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

       The screen reading software uses auditory cues to allow a visually impaired user
       to effectively use websites. For example, when using the visual internet, a seeing
       user learns that a link may be “clicked,” which will bring her to another webpage,
       through visual cues, such as a change in the color of the text (often text is turned
       from black to blue). When the sighted user's cursor hovers over the link, it
       changes from an arrow symbol to a hand.

       The screen reading software uses auditory—rather than visual—cues to relay this
       same information. When a sight impaired individual reaches a link that may be
       “clicked on,” the software reads the link to the user, and after reading the text of
       the link says the word “clickable.”…Through a series of auditory cues read aloud
       by the screen reader, the visually impaired user can navigate a website by
       listening and responding with her keyboard.

Id. at *6-7. See American Foundation for the Blind, Screen Readers, available at

https://www.afb.org/node/16207/screen-readers (last accessed May 3, 2019) (discussing screen

readers and how they work).

       4.      Defendant is an online retailer which sells beauty products, including brand name

fragrances, skincare, makeup, haircare, aromatherapy and candles. See,

https://www.fragrancenet.com/help/aboutus (last accessed April 15, 2019).



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       5.      Consumers may purchase Defendant’s products, and access other brand-related

content and services at https://fragrancenet.com/ (“Website”), the website Defendant owns,

operates, and controls. See Terms of Use available at

https://www.fragrancenet.com/help/terms_of_use (last accessed April 15, 2019)

(“FragranceNet.com, Inc.'s Website and the Service is operated by FragranceNet.com”)

       6.      In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Website to

contact customer service by phone and email, review important legal notices like Defendant’s

Privacy Policy and Terms of Use, and more.

       7.      Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

       8.      Unfortunately, Defendant denies approximately 8.1 million Americans who have

difficulty seeing access to its Website’s goods, content, and services because the Website is

largely incompatible with the screen reader programs these Americans use to navigate an

increasingly ecommerce world. See Press Release, United States Census Bureau, Nearly 1 in 5

People Have a Disability in the U.S., Census Bureau Reports Report Released to Coincide with

22nd Anniversary of the ADA (Jul. 25, 2012), available at

https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-134.html (last accessed

May 3, 2019) (“About 8.1 million people had difficulty seeing, including 2.0 million who were

blind or unable to see.”).

       9.      Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of



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its services, facilities, privileges and advantages; (2) provide such persons with benefits that are

equal to those provided to nondisabled persons; (3) provide auxiliary aids and services—

including electronic services for use with a computer screen reading program—where necessary

to ensure effective communication with individuals with a visual disability, and to ensure that

such persons are not excluded, denied services, segregated or otherwise treated differently than

sighted individuals; and (4) utilize administrative methods, practices, and policies that provide

persons with disabilities equal access to online content.

       10.      By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       11.      Because Defendant’s Website is not and has never been accessible, and because

upon information and belief Defendant does not have, and has never had, an adequate corporate

policy that is reasonably calculated to cause its Website to become and remain accessible,

Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring:

             a) that Defendant retain a qualified consultant acceptable to Plaintiff (“Web
                Accessibility Consultant”) who shall assist it in improving the accessibility of its
                Website, including all third-party content and plug-ins, so the goods and services
                on the Website may be equally accessed and enjoyed by individuals with vision
                related disabilities;

             b) that Defendant work with the Web Accessibility Consultant to ensure that all
                employees involved in website and content development be given web
                accessibility training on a biennial basis, including onsite training to create
                accessible content at the design and development stages;

             c) that Defendant work with the Web Accessibility Consultant to perform an
                automated accessibility audit on a periodic basis to evaluate whether Defendant’s
                Website may be equally accessed and enjoyed by individuals with vision related
                disabilities on an ongoing basis;

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 d) that Defendant work with the Web Accessibility Consultant to perform end-user
    accessibility/usability testing on at least a quarterly basis with said testing to be
    performed by humans who are blind or have low vision, or who have training and
    experience in the manner in which persons who are blind use a screen reader to
    navigate, browse, and conduct business on websites, in addition to the testing, if
    applicable, that is performed using semi-automated tools;

 e) that Defendant incorporate all of the Web Accessibility Consultant’s
    recommendations within sixty (60) days of receiving the recommendations;

 f) that Defendant work with the Web Accessibility Consultant to create a Web
    Accessibility Policy that will be posted on its Website, along with an e-mail
    address, instant messenger, and toll-free phone number to report accessibility-
    related problems;

 g) that Defendant directly link from the footer on each page of the Website, a
    statement that indicates that Defendant is making efforts to maintain and increase
    the accessibility of its Website to ensure that persons with disabilities have full
    and equal enjoyment of the goods, services, facilities, privileges, advantages, and
    accommodations of the Defendant through the Website;

 h) that Defendant accompany the public policy statement with an accessible means
    of submitting accessibility questions and problems, including an accessible form
    to submit feedback or an email address to contact representatives knowledgeable
    about the Web Accessibility Policy;

 i) that Defendant provide a notice, prominently and directly linked from the footer
    on each page of the Website, soliciting feedback from visitors to the Website on
    how the accessibility of the Website can be improved. The link shall provide a
    method to provide feedback, including an accessible form to submit feedback or
    an email address to contact representatives knowledgeable about the Web
    Accessibility Policy;

 j) that Defendant provide a copy of the Web Accessibility Policy to all web content
    personnel, contractors responsible for web content, and Client Service Operations
    call center agents (“CSO Personnel”) for the Website;

 k) that Defendant train no fewer than three of its CSO Personnel to automatically
    escalate calls from users with disabilities who encounter difficulties using the
    Website. Defendant shall have trained no fewer than three of its CSO personnel to
    timely assist such users with disabilities within CSO published hours of operation.
    Defendant shall establish procedures for promptly directing requests for
    assistance to such personnel including notifying the public that customer
    assistance is available to users with disabilities and describing the process to
    obtain that assistance;




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             l) that Defendant modify existing bug fix policies, practices, and procedures to
                include the elimination of bugs that cause the Website to be inaccessible to users
                of screen reader technology;

             m) that Plaintiff, her counsel and her experts monitor the Website for up to two (2)
                years after the Mutually Agreed Upon Consultant validates the Website are free of
                accessibility errors/violations to ensure Defendant has adopted and implemented
                adequate accessibility policies. To this end, Plaintiff, through her counsel and her
                experts, shall be entitled to consult with the Web Accessibility Consultant at her
                discretion, and to review any written material, including but not limited to any
                recommendations the Website Accessibility Consultant provides Defendant.

       12.      Web-based technologies have features and content that are modified on a daily,

and in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not

cause the website to remain accessible without a corresponding change in corporate policies

related to those web-based technologies. To evaluate whether an inaccessible website has been

rendered accessible, and whether corporate policies related to web-based technologies have been

changed in a meaningful manner that will cause the website to remain accessible, the website

must be reviewed on a periodic basis using both automated accessibility screening tools and end

user testing by disabled individuals.

                                 JURISDICTION AND VENUE

       13.      The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.      Defendant attempts to, and indeed does so, participate in the Commonwealth’s

economic life by clearly performing business over the Internet. Through its Website, Defendant

enters into contracts for the sale of its products with residents of Pennsylvania. These online

sales contracts involve, and indeed require, Defendant’s knowing and repeated transmission of

computer files over the Internet. See Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287

(D. Mass. Dec. 4, 2017) (exercising personal jurisdiction over forum plaintiff’s website



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accessibility claims against out-of-forum website operator); Access Now, Inc. v. Sportswear, Inc.,

298 F.Supp.3d 296 (D. Mass. 2018) (same).

       15.      Defendant’s participation in the Commonwealth hinges, in significant part, on

Pennsylvania consumers, like Plaintiff Clark, accessing its Website and purchasing Defendant’s

products and services. Unlike, for example, a winery that cannot sell and ship wine to consumers

in certain states, Defendant purposefully avails itself of the benefits and advantages of operating

an online business open 24 hours a day, 7 days a week, 365 days per year to Pennsylvania

residents.

       16.      As described in additional detail below, Plaintiff was injured when she attempted

to access Defendant’s Website from her home in this District, but encountered barriers that

denied her full and equal access to Defendant’s online services.

       17.      Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s

claims occurred.

                                              PARTIES

       18.      Plaintiff Clark is and, at all times relevant hereto, has been a resident of

Meadville, Pennsylvania, located in Crawford County. Plaintiff is and, at all times relevant

hereto, has been legally blind and is therefore a member of a protected class under the ADA, 42

U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq.

       19.      Defendant is a Delaware corporation with its principle place of business at 900

Grand Blvd., Deer Park, NY 11729.




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       20.      Defendant Does 1 through 5, inclusive, are individuals and/or business or

corporate entities incorporated in and/or doing business in New York whose true names and

capacities are unknown to Plaintiff who therefore sues such defendants by such fictitious names,

and who will amend the Complaint to show the true names and capacities of each such Doe

defendant when ascertained. Each such Defendant Doe is legally responsible in some manner

for the events, happenings and/or tortious and unlawful conduct that caused the injuries and

damages alleged in the Complaint.

       21.      Each Defendant were and/or are the agent, subagent, volunteer, servant and/or

employee of DOES 1-5. Each Defendant was acting within the course and scope of his, her or its

authority as an agent, subagent, volunteer, servant and/or employee of each Defendant.

Defendants and/or DOES 1-5, and each of them, are individuals, corporations, partnerships and

other entities which engaged in, joined in and conspired with the other Defendants in carrying

out the unlawful activities described in the Complaint, and each Defendant ratified the acts of the

Defendants and/or DOES 1-5.

                           FACTS APPLICABLE TO ALL CLAIMS

       22.      While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

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                            DEFENDANT’S ONLINE CONTENT

        23.    Defendant’s Website allows consumers to research and purchase Defendant’s

beauty products, including brand name fragrances, skincare, makeup, haircare, aromatherapy and

candles from the comfort and convenience of their own homes.

        24.    The Website also enables consumers to contact customer service by phone and

instant messenger, review important legal notices like Defendant’s Privacy Policy and Terms of

Use, and more.

                                    HARM TO PLAINTIFF
        25.    Plaintiff attempted to access the Website from her home in Meadville,

Pennsylvania. Unfortunately, because of Defendant’s failure to build its Website in a manner that

is compatible with screen reader programs, Plaintiff is unable to understand, and thus is denied

the benefit of, much of the content and services she wishes to access on the Website.

        26.    Plaintiff Clark attempted to access the Website using VoiceOver, combined with

JAWS.

        27.    VoiceOver is “a full-featured screen reader built into macOS that speaks the text

in documents and windows, and describes aloud what appears on your screen…With VoiceOver,

you control your Mac primarily with a keyboard, refreshable braille display, or trackpad. You

use the VoiceOver cursor—which appears as a dark rectangular outline—to move around the

screen, select buttons and other controls, and to read and edit text.” See Apple, VoiceOver

Getting Started Guide, available at https://help.apple.com/voiceover/info/guide/10.12/#/vo2681

(last accessed April 17, 2019).




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   The VoiceOver cursor—a dark rectangular outline—focused on the word "Accessibility" on
                                         screen.
        This caption matches the alternative text that Apple provides in its VoiceOver Getting

Started Guide. It illustrates the type of sufficiently descriptive alternative text that screen reader

users require to fully and equally access Defendant’s Website.




        28.     JAWS (Job Access with Speech) is a computer screen reader program for

Microsoft Windows that allows blind and visually impaired users to read the screen wither with a

text-to-speech output or by a refreshable Braille display. JAWS is the most popular screen

reading technology (JAWS) currently on the market. JAWS reads to the user the content of the

website as they navigate it with arrows.

        29.     Unfortunately, as a result of visiting Defendant’s Website from Meadville,

Pennsylvania, and from investigations performed on her behalf, Plaintiff found Defendant’s

Website to be largely unusable due to various barriers that deny her full and equal access to

Defendant’s online content and services. For example:

                a.      Defendant’s Website offers coupons and discounts to those who perceive

material visually which it does not offer to the visually-disabled due to the inaccessibility of the


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website. For instance, the screen reader does not announce that the storewide sale, free shipping,

coupon list and shopping spree elements are all excluded from the tab order and a keyboard-only

user may not realize their existence to be able to take advantage of them. An example of this is

shown below:




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                b.     The information in photos on Defendant’s Website is almost entirely

inaccessible to those with visual disabilities because is not available to the screen-reader.

Specifically, the text, which includes the discount amount and discount code, is not available to

the screen-reader and a visually impaired user may be completely unaware of the sale and unable

to take advantage of it. An example of this can be found at

https://fragrancenet.com/skincare?f=0!5e (last accessed April 15, 2019), and is demonstrated

below:




         30.    If the Website was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.

         31.    Though Defendant may have centralized policies regarding the maintenance and

operation of its Website, Defendant has never had a plan or policy that is reasonably calculated

to make its Website fully accessible to, and independently usable by, individuals with vision

related disabilities. As a result, the complained of access barriers are permanent in nature and

likely to persist.

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        32.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities

by removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

        33.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        34.     Defendant has long known that screen reader technology is necessary for

individuals with visual disabilities to access its online content and services, and that it is legally

responsible for providing the same in a manner that is compatible with these auxiliary aids.

        35.     Indeed, the “Department [of Justice] first articulated its interpretation that the

ADA applies to public accommodations’ websites over 20 years ago.” As described above, on

September 25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the

ADA, nor the Department’s enforcement of it, has changed this interpretation.

         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        36.     There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.

        37.     While the DOJ has rulemaking authority and can bring enforcement actions in

court, Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.

        38.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.



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       39.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on its Website, and (b) whether

Plaintiff can access the content and services.

                                 SUBSTANTIVE VIOLATION

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

        40.    The assertions contained in the previous paragraphs are incorporated by reference.

        41.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). See Otter Products, 280 F.Supp.3d 293, n.4

(“Several courts have held that a website can be treated as a public accommodation under Title

III of the ADA.”); see also 1-800 Flowers.com, 2018 WL 839381, *1 (“Defendant does not

dispute that its websites are places of public accommodation subject to regulation by Title III of

the ADA.”).

        42.    In the broadest terms, the ADA prohibits discrimination on the basis of a

disability in the full and equal enjoyment of goods and services of any place of public

accommodation. 42 U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff

with full and equal access to its Website, it has violated the ADA.

        43.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with her

effective communication obligations. Id.



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         44.    Auxiliary aids and services are necessary when her absence effectively excludes

an individual from participating in or benefiting from a service, or fails to provide a like

experience to the disabled person.

         45.    Auxiliary aids and services include, but are not limited to, audio recordings,

screen reader software, magnification software, optical readers, secondary auditory programs,

large print materials, accessible electronic and information technology, other effective methods

of making visually delivered materials available to individuals who are blind or have low vision,

and other similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

         46.    In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ]

accommodations should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc.,

630 F.3d 1153, 1163 (9th Cir. 2011).

         47.    By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,

licensing, or other arrangements, in illegal disability discrimination, as defined by Title III,

including without limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;

                (b)     affording individuals with visual disabilities access to its Website that is

not equal to, or effective as, that afforded others;




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               (c)     utilizing methods of administration that (i) have the effect of

discriminating on the basis of disability; or (ii) perpetuate the discrimination of others who are

subject to common administrative control;

               (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

               (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

       48.     Defendant has violated Title III by, without limitation, failing to make its

Website’s services accessible by screen reader programs, thereby denying individuals with visual

disabilities the benefits of the Website, providing them with benefits that are not equal to those it

provides others, and denying them effective communication.

       49.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available

without consideration of consumers who can only access the company’s online goods, content,

and services with screen reader programs.

       50.     Making its online goods, content, and services compatible with screen readers

does not change the content of Defendant’s Website or result in making the Website different,

but enables individuals with visual disabilities to access the Website Defendant already provides.

       51.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiff and other individuals with visual disabilities.

       52.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.



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       53.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff request relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant took no action that was

reasonably calculated to ensure that its Website is fully accessible to, and independently usable

by, individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to, and independently usable by, blind individuals, and which

further directs that the Court shall retain jurisdiction for a period to be determined to ensure that

Defendant has adopted and is following an institutional policy that will in fact cause it to remain

fully in compliance with the law—the specific injunctive relief Plaintiff requests is described

more fully in paragraph 11 above.

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see Access

Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11)

(“Plaintiff, as the prevailing party, may file a fee petition before the Court surrenders



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jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478

U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), and Garrity v. Sununu, 752 F.2d 727,

738-39 (1st Cir. 1984), the fee petition may include costs to monitor Defendant’s compliance

with the permanent injunction.”); see also Gniewkowski v. Lettuce Entertain You Enterprises,

Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191) (same);

       (F)    Whatever other relief the Court deems just, equitable and appropriate; and

       (G)    An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: May 6, 2019                   Respectfully Submitted,

                                            /s/ Benjamin Sweet
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                                            Counsel for Plaintiff, Karen Clark




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